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                        UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TEXAS
                            TEXARKANA DIVISION


LISA TORREY, et al.,                 §
                                     §
     Plaintiffs                      §
                                              Civil Action No. 5:17-cv-00190-RWS
                                     §
      v.                             §
                                     §
INFECTIOUS DISEASES SOCIETY OF       §
AMERICA, et al.,                     §
                                     §
     Defendants                      §
                                     §


                  JOINT REPORT OF THE PARTIES IN ADVANCE OF
                        MARCH 11, 2019 MOTIONS HEARING




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        The Court has set a motions hearing for March 11, 2019. Pursuant to this Court’s standing

order requiring the parties to further meet and confer in advance of a hearing on discovery motions,

the parties jointly submit this report.

I.      DISCOVERY MOTIONS1

        A.      Plaintiffs’ Motion to Compel Discovery [Dkt. 138]

        The parties remain at impasse. This motion will be impacted by and should be considered

in conjunction with Plaintiffs’ Motion for Extension of Time to Replead [Dkt. 123]. Furthermore,

Defendants’ Motion to Compel Depositions and Damages Computations [Dkt. 146] may involve

overlapping issues.

        B.      Defendants’ Motion to Compel Depositions and Damages Computations
                [Dkt. 146]

        The parties remain at an impasse regarding Plaintiffs’ depositions and damages

computations. The impasse remains as a result of the parties’ dispute about application of the four-

year discovery period in the Court’s Discovery Order [Dkt. 81], which has been briefed in

connection with Plaintiffs’ Motion to Compel Discovery [Dkt. 138]. Plaintiffs have offered to

appear for their noticed depositions if Defendants agree in advance that Plaintiffs may question

any Defendant witnesses regarding information beyond four years. Defendants have not agreed

and Plaintiffs refused to appear for their noticed depositions if they were subject to questioning

beyond four years. The parties have agreed that, if Defendants seek a second deposition of any

Plaintiff, Defendants will seek leave of the Court.



1
 The Parties also met and conferred but remained at impasse on the following motions: Plaintiffs’
Opposed Motion for Extension of Time to Replead [Dkt. 123]. Plaintiffs’ Motion to Continue
[Dkt. 148] also is pending.


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        C.      Defendants’ Motion to Compel E-Mail Discovery [Dkt. 152]

        The parties have agreed regarding appropriate search terms. Therefore, this Motion is

resolved and does not need to be considered at the hearing.

        D.      Motion for Independent Medical Examinations by Anthem, IDSA, and
                Defendant Doctors [Dkt. 154]

        The parties remain at impasse but may conduct a further meet and confer after Plaintiffs

file their opposition brief.

II.     PROPOSED MOTION ORDER FOR HEARING

        Because some motions are interrelated and address overlapping issues, the parties believe

that hearing the pending motions in the following order would be most efficient, with motions 1-

3 argued together:

        1. Plaintiffs’ Opposed Motion for Extension of Time to Replead [Dkt. 123]

        2. Plaintiffs’ Motion to Compel Discovery [Dkt. 138]

        3. Plaintiffs’ Motion to Continue [Dkt. 148]

        4. Defendants’ Mtn. to Compel Deposition Dates and Damages Computations [Dkt. 146]

        5. Mtn. for Independent Medical Examinations by Anthem, IDSA, et al. [Dkt. 154]

        6. Defendant Doctors’ Renewed Mtn. to Dismiss for Lack of Pers. Juris. [Dkt. 151]




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                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the above and forgoing document has been

served on March 4, 2019, to all counsel of record who are deemed to have consented to electronic

service via the Court’s CM/ECF system per local rule CV-5(a)(3).

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